 Case: 4:24-cr-00396-SEP         Doc. #: 144 Filed: 03/03/25       Page: 1 of 1 PageID #:
                                            280



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  )
                                                    )      No. 4:24CR396SEP
LAURENTIU MIGUEL IVAN,                              )
                                                    )
               Defendant.                           )


                                            ORDER

       IT IS HEREBY ORDERED that this case is set for change of plea hearing on March

13, 2025, at 9 a.m. in the courtroom of the undersigned.



       Dated this 3rd day of March, 2025.

                                                    _________________________________
                                                    SARAH E. PITLYK
                                                    UNITED STATES DISTRICT JUDGE
